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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                       Bridgeport Division

  IN RE:
  CUMMINGS ENTERPRISES, INC.                           : CHAPTER 11
         DEBTOR                                        : CASE NO. 12-51557
                                                       :
  FEDERAL NATIONAL MORTGAGE
  ASSOCIATION (“FANNIE MAE”),
  CREDITOR C/O SETERUS, INC.
       MOVANT

  V

  CUMMINGS ENTERPRISES, INC.
      DEBTOR

                                                       :


       STIPULATED ORDER REGARDING MOTION FOR RELIEF FROM STAY FILED BY
       FEDERAL NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”), CREDITOR
                              C/O SETERUS, INC.

          FEDERAL         NATIONAL      MORTGAGE           ASSOCIATION        (‘FANNIE      MAE”),

      CREDITOR C/O SETERUS, INC.(“FANNIE MAE”) having moved on or about January 15,

      2013 for relief from automatic stay on property located at 80 Shoreline Drive, Stratford,

      Connecticut, and due deliberation being had thereon; and counsel for the Debtor, Cummings

      Enterprises, Inc. (“Debtor”), having conferred and stipulated to entry of this Order; and good

      and sufficient cause appearing therefore;


          AND THE PARTIES HAVING AGREED THAT:

          1. The Motion for Relief from Stay dated January 15, 2013 (Doc# 69) having come

      before the court for a hearing shall be marked off pursuant to the conditions set forth in this

      Stipulated Order.



          2. Except as otherwise altered by a confirmed plan of reorganization, the Debtor will
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     commence making monthly adequate protection payments in the amount of $1,082.81 on or

     before June 1, 2013 and will continue on or before the 1st of every month thereafter during

     the pre-confirmation stage of this case. Said payments are being made without prejudice to

     Fannie Mae seeking to reclaim its relief from stay should it determine at a later date that said

     payment does not constitute sufficient “adequate protection”. Said payments shall be in the

     form of a bank or certified check. All pre-confirmation payments should be made payable to

     the loan servicer Seterus, Inc. and mailed to:

        Seterus, Inc.
        P. O. Box 54420
        Los Angeles, CA 90054-0420


        The loan number should be used for identification on all payments.

        3. The Debtor further agrees to pay all real estate taxes that become do and owing on the

     subject property in a timely manner and further agrees to maintain insurance on the subject

     property during the post petition period.

        4. The Debtor further agrees to timely file all Monthly Operating Reports.

     IT IS ORDERED:

        A. In the event the Debtor fails or refuse to make any of the payments to the Movant

     herein as stated in Paragraph 2 and 3 herein or fails to timely file his Monthly Operating

     Reports as set out in Paragraph 4, then Fannie Mae may file an Affidavit of Non-Compliance

     with this Court, with copies to the Debtor, Debtor’s counsel by mail certifying the default. If

     the Debtor does not file, within five (5) business days of the date of filing of said affidavit, a

     counter-affidavit certifying that the Debtor has complied with the provisions of this

     Stipulated Order, then the Court may grant the Motion for Relief from Stay dated January 15,

     2013.


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         In the event the Debtor does file a counter-affidavit with the prescribed time period, the

     Motion for Relief from Stay shall be scheduled for a hearing pursuant to the order of the

     court.

         B. Notwithstanding anything herein to the contrary, Fannie Mae reserves its rights to

     contest any disclosure statement of plan of reorganization filed by the Debtor.

         C. This order shall be binding on the Debtor and Fannie Mae, its assigns and successors

     in interest.


      CONSENTED TO:                                CONSENTED TO:


      ______/s/______________                      _______/s/_____________
      Douglas Skalka, Esq.                         Linda J. St. Pierre, Esq.
      Attorney for the Debtor                      Attorney for the Movant



  Dated: June 21, 2013                         By the court




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  CERTIFICATION

         I hereby certify that a copy of the foregoing was served upon all of the following parties
  either by operation of the Court's electronic filing system or by postage prepaid first class mail,
  on this 20th day of June, 2013.

  Cummings Enterprises, Inc.                              Holley L. Claiborn
  33 A Light Street                                       Office of The U. S. Trustee
  Stratford, CT 06615                                     The Giaimo Federal Building
  (Debtor)                                                150 Court Street, Room 302
                                                          New Haven, CT 06510
  Douglas S. Skalka
  Neubert, Pepe, and Monteith                             U. S. Trustee
  195 Church Street, 13th Floor                           Office of the U.S. Trustee
  New Haven, CT 06510                                     Giaimo Federal Building
  (Debtor’s Attorney)                                     150 Court Street, Room 302
                                                          New Haven, CT 06510
                                                          Mark L. Bergamo
                                                          The Marcus Law Firm
                                                          275 Branford Road
                                                          Branford, CT 06471
                                                          (Attorney for Tower Lien, LLC and MTAG
                                                          CAZ CREEK CT LLC)

                                                          James M. Nugent
                                                          Harlow, Adams, and Friedman
                                                          One New Haven Ave, Suite 100
                                                          Milford, CT 06460
                                                          (Attorney for Manuel Moutinho, Eric
                                                          Moutinho, Trustee for Baldwin Station, LLC
                                                          Profit Sharing Plan, and Eric Moutinho,
                                                          Trustee for the Mark IV Construction
                                                          Company 401(K) Plan)

                                                          Bruce L. Elstein
                                                          Elstein and Elstein, P.C.
                                                          1087 Broad Street, Suite 400
                                                          Bridgeport, CT 06604
                                                          (Attorney for Manuel Moutinho, Trustee for
                                                          Mark IV Construction Company, Inc.
                                                          401(K) Savings Plan)

                                                          Juda J. Epstein
                                                          Law Offices of Juda J. Epstein


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  3543 Main Street, Second Floor                      (Creditor)
  Bridgeport, CT 06606
  (Attorney for Benchmark Municipal Tax               Dahill Donofrio
  Services, LTD. and Plymouth Park Tax                PO Box 506
  Services)                                           Stratford, CT 06615
                                                      (Creditor)
  Denali, LLC
  Attn: President                                     City of Bridgeport
  488 Shelton Ave.                                    Tax Collector
  Shelton, CT 06484                                   45 Lyon Terrace
  (Creditor)                                          Bridgeport, CT 06604
                                                      (Creditor)
  Jose Antonio Pires
  47 St. Nicholas Dr.                                 Town of Stratford
  Bridgeport, CT 06604                                Tax Collector
  (Creditor)                                          2725 Main St.
                                                      Stratford, CT 06615
                                                      (Creditor)

  Unique Way, Inc                                     Main Street Business Management, Inc.
  Attn: President                                     Attn: President
  PO Box 524                                          PO Box 524
  Stratford, CT 06615                                 Stratford, CT 06615
  (Creditor)                                          (Creditor)

  BR 1, LLC                                           Rose Tiso & Co., LLC
  Attn: President                                     Attn: President
  PO Box 524                                          35 Brentwood Av.
  Stratford, CT 06615                                 Fairfield, CT 06825
  (Creditor)                                          (Creditor)

  Com Link, Inc.                                      Joseph Regensburger
  Attn: President                                     921 Valley Rd.
  PO Box 524                                          Fairfield, CT 06825
  Stratford, CT 06615                                 (Creditor)
  (Creditor)
                                                      Robin Cummings
  Gus Cucio                                           4 Daniles Farm Rd #160
  PO Box 524                                          Trumbull, CT 06611
  Stratford, CT 06615                                 (Creditor)
  (Creditor)
                                                      Willinger Willinger & Bucci, PC
  Bridgeport Redevelopment, Inc.                      Attn: President
  Attn: President                                     855 Main St.
  PO Box 514                                          Bridgeport, CT 06604
  Stratford, CT 06615                                 (Creditor)



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  John Bryk, Esq.
  1000 Lafayette Blvd.
  5th Floor
  Bridgeport, CT 06606
  (Creditor)

  Roto Rooter
  Attn: President
  255 Stagg St.
  Stratford, CT 06615
  (Creditor)

  Pacific Security
  Attn: President
  PO Box 4057
  Woodbridge, CT 06525
  (Creditor)

  Trendowski & Allen, PC
  Attn: President
  90 Main St, Suite 201
  Centerbrook, CT 06409
  (Creditor)

  Midler & Kramer, PA
  Attn: President
  120 East Oakland Park Blvd., Suite 203
  Fort Lauderdale, FL 33334
  (Creditor)




  By: _____/s/___________________
  Linda J. St. Pierre, Esq.
  Hunt Leibert Jacobson, P.C.
  50 Weston St., Hartford, CT 06120
  Telephone No. (860) 808-0606
  Federal Bar No. CT 22287




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